Case 1:22-cv-00261-SEB-MPB Document 1 Filed 02/03/22 Page 1 of 21 PageID #: 1



                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

GEFT OUTDOOR, L.L.C.              )
                                  )
               Plaintiff          )
                                  )
     v.                           ) CASE NO. 1:22-cv-261
                                  )
CONSOLIDATED CITY OF INDIANAPOLIS )
AND COUNTY OF MARION INDIANA,     )
DEPARTMENT OF METROPOLITAN        )
DEVELOPMENT, AND METROPOLITAN     )
BOARD OF ZONING APPEALS           )
                                  )
                                  )
               Defendants.        )

   COMPLAINT FOR DAMAGES, DECLARATORY RELIEF, PERMANENT
    INJUNCTION, AND VERIFIED PETITION FOR JUDICIAL REVIEW

      Plaintiff, GEFT OUTDOOR, L.L.C. (“Plaintiff” or “GEFT”), by counsel, for its

Complaint for Damages, Declaratory Relief, Permanent Injunction, and Petition for

Judicial Review against Defendants Consolidated City of Indianapolis and County of

Marion, Indiana, (“Indianapolis”) Department of Metropolitan Development (“DMD”),

and Metropolitan Board of Zoning Appeals (“BZA”) (collectively, “Defendants”), states as

follows:

                                  INTRODUCTION

      1.     Indianapolis   has   enacted   Code   of   Ordinances   (“Marion   County

Ordinance”), which, among other things, regulates land use (including the erection of

signs) in Indianapolis. Through this lawsuit, among other things, GEFT seeks to enjoin

the Defendants from further restraining GEFT’s First Amendment rights through

continued application of the unconstitutional provisions of the Marion County

Ordinance.




                                            1
Case 1:22-cv-00261-SEB-MPB Document 1 Filed 02/03/22 Page 2 of 21 PageID #: 2



       2.     The Marion County Ordinance contains impermissible prior restraints on

GEFT’s First Amendment rights. Those impermissible prior restraints provided the BZA

with unconstitutionally unbridled discretion to deny GEFT’s request for variances.

Indianapolis and its BZA have sole statutory authority to decide on variances like this.

The unconstitutionality of Marion County Ordinance is abundantly clear.

                                       PARTIES

       3.     GEFT is a domestic limited liability company, organized and existing under

the laws of the State of Indiana.

       4.     GEFT has a principal place of business in the City of Indianapolis, Marion

County, State of Indiana.       GEFT’s address is 1075 Broad Ripple Avenue, #222,

Indianapolis, Indiana, 46220.

       5.     At all times relevant herein, Indianapolis was and remains a city, organized

and existing under the laws of and within the State of Indiana, and authorized to sue and

be sued.

       6.     At all times and for all actions relevant herein, Indianapolis acted under

color of state law; that is, under color of the United States Constitution, Indiana

Constitution, statutes, laws, charter, ordinances, rules, regulations, customs, and usages

of the State of Indiana and Indianapolis.

       7.     The BZA is a citizen board of Indianapolis and was created in accordance

with the provisions of Ind. Code § 36-7-4-901 and Ind. Code § 36-7-4-201. The BZA is

responsible for, among other things, approving or denying applications for variances,

special exceptions, special uses, contingent uses, and conditional uses of the zoning

ordinance. The BZA conducts its meetings and is based in the Indianapolis City-County

Building at 200 East Washington Street, Indianapolis, Indiana 46204.

                                    JURISDICTION


                                            2
Case 1:22-cv-00261-SEB-MPB Document 1 Filed 02/03/22 Page 3 of 21 PageID #: 3



       8.       Plaintiff’s claims arise under 42 U.S.C. § 1983 and 28 U.S.C. § 2201. The

Court has subject matter jurisdiction over Plaintiff’s claims pursuant to 28 U.S.C. §§1331,

1343(a)(3), and 1367, the First Amendment and Fourteenth Amendment of the United

States Constitution, and Article I, §§ 9 and 23 of the Indiana Constitution. GEFT’s

Indiana law claims are within this Court’s jurisdiction based on GEFT asserting claims

under federal law. GEFT’s Indiana law claim arises from the same underlying controversy

as that invoking federal question jurisdiction. Consequently, exercising supplemental

jurisdiction over GEFT’s Indiana law claims is proper. See 28 U.S.C. § 1367(a); see also

Voelker v. Porsche Cars N. Am., Inc., 353 F.3d 516, 522 (7th Cir. 2003).

       9.       Venue is proper in the United States District Court for the Southern District

of Indiana pursuant to 28 U.S.C. § 1391(b)(2) because Plaintiff’s claims against

Defendants arose in this District.

       10.      Defendants are subject to the personal jurisdiction of this Court because

Indianapolis is a city located within the State of Indiana and the BZA is a department of

Indianapolis.

                               FACTUAL BACKGROUND

       11.      GEFT is in the business of buying or leasing land upon which to construct,

maintain, and/or operate signs to be used for the dissemination of both commercial and

noncommercial speech.

       12.      EAP, LLC is the owner of property known as 3451 Developer’s Road,

Indianapolis, Indiana, Local Parcel #5043745 (“Developer’s Property”). Ronald L. Page

and Georgia M. Page are the owners of 2131 N. Sherman Drive, Indianapolis, IN 46218

(“Sherman Property”). Van’s Carburetor and Electric, Inc. is the owner of property known

as 1091 Kentucky Ave, Local Parcel # 1099337, Indianapolis, IN 46221 (“Kentucky Ave

Property”)(collectively the “Properties”).


                                               3
Case 1:22-cv-00261-SEB-MPB Document 1 Filed 02/03/22 Page 4 of 21 PageID #: 4



       13.     On June 25, 2021, EAP, LLC authorized GEFT to file land development

petitions necessary for operation of a digital billboard at the Developer’s Property.

       14.     On June 21, 2021, Ronald L. Page and Georgia M. Page authorized GEFT to

file land development petitions necessary for operation of a digital billboard at the

Sherman Property.

       15.     On June 30, 2021, Van’s Carburetor and Electric, Inc. authorized GEFT to

file land development petitions necessary for operation of a digital billboard at the

Kentucky Ave Property.

       16.     GEFT plans to own and operate off-premises digital advertising billboards

at the Properties. Any digital advertising billboard at the Properties must be erected

pursuant to and consistent with the State of Indiana’s regulations governing Digital

Billboards (defined infra).

                                      GEFT’S SIGNS

       17.     On the Developer’s Property, GEFT desires to erect a 70-foot, double-sided,

back-to-back billboard, with digital displays on both sides (“Developer’s Property Digital

Billboard”).

       18.     On the Sherman Property, GEFT desires to erect a 70-foot, double-sided,

back-to-back billboard, with digital displays on both sides (“Sherman Property Digital

Billboard”)

       19.     On the Kentucky Ave Property, GEFT desires to erect a 70-foot, double-

sided, back-to-back billboard, with digital displays on both sides (“Kentucky Ave Digital

Billboard”) (the Developer’s Property Digital Billboard, Sherman Property Digital

Billboard, and Kentucky Ave Property Digital Billboard shall be collectively referred to as

the “Digital Billboards”).




                                             4
Case 1:22-cv-00261-SEB-MPB Document 1 Filed 02/03/22 Page 5 of 21 PageID #: 5



       20.    GEFT has filed permit applications with the Indiana Department of

Transportation (“INDOT”) for each of the Digital Billboards.

       21.    GEFT intends to display both commercial and noncommercial speech on

the Digital Billboards pursuant to and consistent with the State of Indiana’s regulations

governing the Digital Billboards.

       22.    GEFT has a right to erect the Digital Billboard under the terms of its leases.

       23.    The Marion County Ordinance unconstitutionally precludes GEFT from

erecting its Digital Billboards.

                                    THE SIGN STANDARDS

       24.    Chapter 744-901, et. seq., of the Marion County Ordinance (generally, the

“Marion County Ordinance”) purports to set forth standards and other requirements for

most Signs located within Marion County (the “Marion County Sign Standards”).

       25.    One of the purported purposes of the Sign Standards is “to promote public

health, safety, morals and general welfare.” (Marion County Ordinance, § 744-901).

       26.    Under the Marion County Sign Standards, a “Sign” is defined as “[a]ny

structure, fixture, placard, announcement, declaration, device, demonstration or insignia

used for direction, information, identification or to advertise or promote any business,

product, goods, activity, services or any interests.” (Id., § 744-902).

       27.    Marion County Ordinance § 744-903 provides that “[a]ny Sign not

exempted from the requirements of obtaining an Improvement Location Permit (ILP) as

noted in Section 744-903(E) shall be required to obtain an ILP . . . This provision shall

not be construed to require an ILP for the changing of a Sign face on a Sign for which an

ILP has previously been issued, except that an ILP is required for the changing of a Sign

face from a static face to a digital display” (“Permit Requirement”). (Id., § 744-903).




                                             5
Case 1:22-cv-00261-SEB-MPB Document 1 Filed 02/03/22 Page 6 of 21 PageID #: 6



       28.    Thus, to erect a Sign in Marion County, a person or entity must have an ILP

or a variance, unless the Sign is exempt.

       29.    A billboard, like the Digital Billboards at issue in this case, are Signs, as that

term is defined in the Marion County Sign Standards.

                                 DIGITAL BILLBOARD BAN

       30.    Certain types of billboards are not allowed in Marion County unless

exempted or otherwise allowed.

       31.    Section 744-911.A of the Marion County Ordinance states, “[t]he following

regulations shall pertain to off-premises Signs (also known as outdoor advertising signs)

in all districts where permitted by this Section 744-903.F, Table 744-903-7.”

       32.    Pursuant to Section 744-911.A (4) and (7) of the Marion County Ordinance,

“No advertising sign shall be permitted which contains, includes, or is illuminated by a

flashing, intermittent or moving light or lights” and “[n]o advertising Sign shall be

permitted which displays video or emitting graphics.” (“Digital Billboard Ban”)(Marion

County Ordinance, § 744-911.A (4) and (7)).

       33.    Thus, unless exempted or otherwise allowed, digital billboards, like the ones

GEFT wishes to erect, are not allowed in Indianapolis.

        THE MARION COUNTY ORDINANCE’S CONTENT-BASED REGULATIONS

       34.    The Digital Billboards that GEFT wishes to erect are each located within the

I-465 loop.

       35.    The Marion County Ordinance bans Outdoor Advertising Signs, that display

messages similar to the ones GEFT intends to display on its Digital Billboards, to be

located within the I-465 loop. (Marion County Ordinance, § 744-911.A(11); see also id.,

Sign Diagram 21).




                                               6
Case 1:22-cv-00261-SEB-MPB Document 1 Filed 02/03/22 Page 7 of 21 PageID #: 7



         36.   Outdoor Advertising Signs are also known as Off-premises Signs. (Marion

County Ordinance, § 744-911(A)).

         37.   As a result, unless exempted or otherwise allowed, Off-premises Signs, like

the ones GEFT intends to erect, are not allowed within the I-465 loop (“Off-premises

Ban”).

         38.   However, On-premises Signs are generally allowed within the I-465 loop.

         39.   Whether a Sign falls within the definition of an Off-premises Sign or an On-

premises Sign is based on the content of the speech contained on the Sign.

         40.   The Off-premises Ban applies based on the topic discussed on a Sign, or the

idea or message expressed on a Sign.

         41.   The Off-premise Ban draws distinctions on the types of Signs that are

prohibited versus those that are allowed, based on the message a speaker conveys.

         42.   As a result, the Marion County Ordinance favors certain types of speech

and/or speakers over others.

  THE MARION COUNTY ORDINANCE IS AN UNCONSTITUTIONAL PRIOR RESTRAINT

         43.   Unless exempted or otherwise allowed, a person or entity must apply for

and obtain a permit prior to engaging in certain forms of speech. (Marion County

Ordinance, § 744-903(B)).

         44.   Indianapolis’ City Administrator shall interpret and enforce such provisions

of the Marion County Sign Standards, and is charged with approving or denying sign

permits. (Id. at § 740-802).

         45.   The City Administrator has the purported power to revoke a permit for a

violation of the Marion County Sign Standards. (Id., § 740-810).




                                             7
Case 1:22-cv-00261-SEB-MPB Document 1 Filed 02/03/22 Page 8 of 21 PageID #: 8



       46.    Indianapolis, in order to determine whether a Sign located within the I-465

loop is in compliance with the requirements of the Marion County Ordinance, must look

to the content of the Sign.

       47.    To decide whether to issue or revoke a permit, Indianapolis must appraise

facts, exercise judgment, and form an opinion as to whether a Sign is in compliance with

the requirements of the Marion County Ordinance.

       48.    The Marion County Ordinance and/or Marion County Sign Standards fail

to set forth criteria—such as narrow, objective, and definite standards—to ensure that the

Indianapolis’ permitting or revocation decisions are not based on the content or viewpoint

of the speech or message.

       49.    The Marion County Ordinance and/or Marion County Sign Standards fail

to create a permitting scheme that reduces the Indianapolis’ act of granting, denying, or

revoking a permit to a ministerial one, without the exercise of judgment or the formation

of an opinion by Indianapolis.

       50.    If a person or entity cannot obtain an ILP because the proposed structure

does not meet the developmental standards in Marion County Ordinance, that person or

entity may seek a variance.

       51.    A variance is a departure from the terms on a zoning ordinance that affords

the applicant relief from the strict enforcement of a zoning ordinance, and/or permits a

use of the property in question that the zoning ordinance otherwise forbids.

       52.    Marion County Ordinance allows those who wish to erect a non-conforming

Sign to seek a variance.

       53.    In other words, a person or entity who desires to erect a Sign but cannot get

a permit because the Sign does not fall within the standards set forth in the Marion County




                                             8
Case 1:22-cv-00261-SEB-MPB Document 1 Filed 02/03/22 Page 9 of 21 PageID #: 9



Sign Standards still has an opportunity to erect that Sign through the variance process.

(See, e.g., BZA Rules of Procedure, Article I(4)).

       54.      The BZA has the power and duty to grant or deny variances of use or

development standards including height, bulk, and area. (BZA Rules of Procedure, Article

I(4)(C)).

       55.      The BZA has enacted Rules of Procedures setting forth the procedures the

BZA follows including the procedures it follows in considering requests for variances.

       56.      A true and accurate copy of the BZA’s Rules of Procedure is attached hereto

as Exhibit A.

       57.      Per the BZA’s Rules of Procedure, a use variance is “[a] variance for a use or

structure that is not permitted in the zoning district.” (Id., Article I(5)(A)).

       58.      Per the BZA’s Rules of Procedure, a developmental standards variance is

“[a] departure from the provisions of a zoning ordinance relating to frontage, yard, area,

coverage, setback, height, size, parking, loading or other requirements of the applicable

zoning district, but not involving the actual use.” (Id., Article I(5)(B)).

       59.      The criteria the BZA considers for a variance of use are set forth in Ind. Code

§ 36-7-4-918.4, which states:

       A variance may be approved under this section only upon a determination in

writing that:

                (1) the approval will not be injurious to the public health, safety,
                    morals, and general welfare of the community;

                (2) the use and value of the area adjacent to the property included in
                    the variance will not be affected in a substantially adverse
                    manner;

                (3) the need for the variance arises from some condition peculiar to
                    the property involved;




                                               9
Case 1:22-cv-00261-SEB-MPB Document 1 Filed 02/03/22 Page 10 of 21 PageID #: 10



               (4) the strict application of the terms of the zoning ordinance will
                   constitute an unnecessary hardship if applied to the property for
                   which the variance is sought; and

               (5) the approval does not interfere substantially with the
                   comprehensive plan adopted under the 500 series of this chapter.

        60.    The criteria the BZA considers for a variance from development standards

 are set forth in Ind. Code § 36-7-4-918.5, which states:

        A variance may be approved under this section only upon a determination in
 writing that:

               (1) the approval will not be injurious to the public health, safety,
                   morals, and general welfare of the community;

               (2) the use and value of the area adjacent to the property included in
                   the variance will not be affected in a substantially adverse
                   manner; and

               (3) the strict application of the terms of the zoning ordinance will
                   result in practical difficulties in the use of the property. However,
                   the zoning ordinance may establish a stricter standard than the
                   “practical difficulties” standard prescribed by this subdivision.

        61.    The BZA’s power and duty to grant any variance through the Marion County

 Ordinance is inextricably linked to other provisions of the Sign Standards.

        62.    The variance process allows Indianapolis a mechanism for relief from the

 strict enforcement of a zoning ordinance, and/or permits a use of the property in question

 that the zoning ordinance otherwise forbids.

        63.    The end result of an approved variance is the issuance of an ILP to construct

 whatever the applicant wishes to construct consistent with the terms of the grant of the

 variance.

        64.    To decide whether to grant a variance, the BZA must appraise facts, exercise

 judgment, and form an opinion as to whether a Sign complies with the variance criteria

 set forth supra.




                                              10
Case 1:22-cv-00261-SEB-MPB Document 1 Filed 02/03/22 Page 11 of 21 PageID #: 11



        65.    The Marion County Ordinance fails to set forth criteria—such as narrow,

 objective, and definite standards which are to be applied by the BZA—to ensure that the

 BZA’s variance decisions are not based on subjective standards or criteria including the

 content or viewpoint of the speech or message and/or on the messenger itself.

        66.    The Marion County Ordinance variance criteria, applicable to the BZA, are

 subjective and value laden, and susceptible to wide interpretation and varying differences

 of opinion by the members of the BZA. Those characteristics create too high of a risk that

 the BZA might grant or deny a variance based on whether it likes or dislikes the content

 or the viewpoint of a given sign, or even the person (speaker) seeking the variance.

        67.    The BZA also has the power to place conditions on the granting of a

 variance. (See, e.g., BZA Rules of Procedure, Article 6(A)).

        68.    Neither the Marion County Ordinance nor the BZA Rules of Procedure

 provide guidance, objective criteria, or adequately limit the types of conditions the BZA

 could place in exercising its authority to grant a variance.

        69.    For example, the BZA’s power to approve variances contingent on any

 condition imposed to protect “public health, safety, morals, and general welfare of the

 community” provides no objective guidance as to what these terms mean and does little

 to constrain the BZA, so much that it could impose essentially whatever conditions it

 wanted on a Sign through the variance process. (Id., Article I(4)(C)).

        70.    The Marion County Ordinance, applicable to the BZA, fails to create a

 variance scheme that reduces the BZA’s act of granting or denying a variance to a

 ministerial one, without the exercise of judgment or the formation of an opinion by the

 BZA.




                                              11
Case 1:22-cv-00261-SEB-MPB Document 1 Filed 02/03/22 Page 12 of 21 PageID #: 12



       71.      The lack of objective criteria means the BZA has unbridled discretion in

 making variance decision which allows the BZA to permit whatever speech it favors, and

 deny speech it disfavors.

       72.      The Marion County Ordinance also lacks necessary procedural safeguards

 including, without limitation, lacking clearly defined limits on the time within which a

 decision-maker must issue, deny and/or revoke a permit, and/or grant or deny a variance.

                                GEFT SEEKS VARIANCES

       73.      On or about September 15, 2021, GEFT submitted an application for a

 variance of use and variance from development standards to erect a billboard at Sherman

 Property.     This was assigned variance number 2021-UV1-027 (“Sherman Property

 Variance”).

       74.      On or about September 15, 2021, GEFT submitted an application for a

 variance of use and variance from development standards to erect a billboard at Sherman

 Property. This was assigned variance number 2021-UV1-028 (“Developer’s Property

 Variance”).

       75.      On or about September 15, 2021, GEFT submitted an application for a

 variance of use and variance from development standards to erect a billboard at Sherman

 Property. This was assigned variance number 2021-UV1-026 (“Kentucky Ave Property

 Variance”) (the Sherman Property Variance, Developer’s Property Variance, and

 Kentucky Ave Variance are collectively referred to as “Variances”).

       76.      Digital Signs are not permitted by § 744-911 of the Marion County

 Ordinance unless exempted or otherwise allowed. As a result, the Variances requested

 sought to erect an off-premise’s advertising Sign to updated, LED Digital Signs. The

 Digital Signs would have displayed static digital messages with hold times no less than

 eight (8) seconds. The Digital Billboards would have consisted of both commercial and


                                            12
Case 1:22-cv-00261-SEB-MPB Document 1 Filed 02/03/22 Page 13 of 21 PageID #: 13



 non-commercial message content. The Variance applications are attached collectively

 hereto as Exhibit B (“Variance Applications”).

       77.      The BZA met to consider the Variance Applications on January 4, 2022.

       78.      John Kisiel and Taylor Fontan participated in the January 4th meeting on

 behalf of GEFT, and presented relevant evidence.

       79.      BZA Members Matt Boon, Eduardo Luna, Clint McKay, Peter Nelson, and

 Mark Young participated in the BZA meeting.

       80.      When Indianapolis receives a variance application, Indianapolis performs a

 review of the application and makes a recommendation to the BZA concerning approval

 of the same.

       81.      Prior to the BZA meeting, the DMD issued staff reports outlining its

 recommendation to deny the Variance Applications. A true and accurate copy of the Staff

 Reports are attached as Exhibit C (“Staff Reports”).

       82.      The Staff Reports do not set forth any objective criteria, standards or

 evidence used by the Staff for recommending denial of the Variance Application.

       83.      On January 4, 2022, the BZA voted to deny GEFT’s Variance Applications

 for each of the Variance requests without citing any objective criteria, standards or

 evidence beyond its reliance on the subjective opinions in the Staff Reports.

       84.      There is no substantive, objective evidence supporting the opinions put

 forth in the Staff Reports and/or the BZA’s decision.

       85.      As of the date of filing, the BZA has yet to adopt findings of fact and

 conclusions of law supporting the denial of the Variance Applications.




                                             13
Case 1:22-cv-00261-SEB-MPB Document 1 Filed 02/03/22 Page 14 of 21 PageID #: 14



                               FIRST CAUSE OF ACTION

       THE MARION COUNTY ORDINANCE CONTAINS UNCONSTITUTIONAL PRIOR
                               RESTRAINTS

        86.    GEFT incorporates by reference the foregoing paragraphs, as if restated

 herein in their entirety.

        87.    Indianapolis’ variance and permitting schemes, as set forth in the Marion

 County Ordinances/Sign Standards, lack procedural safeguards with respect to Sign

 permitting, revocation, and variance decisions, including, without limitation, failing to set

 forth a definitive timeframe in which the BZA must make a permitting, revocation, and/or

 variance decision.

        88.    Indianapolis’ variance scheme, including the ability to place conditions on

 variances, as set forth in the Marion County Ordinances/Sign Standards, lacks narrow,

 objective, and definite criteria for making variance decisions.

        89.    Indianapolis’ permitting scheme lacks narrow, objective, and definite

 criteria for making variance decisions.

        90.    Indianapolis’ variance and permitting schemes, as set forth in the Marion

 County Ordinances/Sign Standards, give Indianapolis and/or the BZA unbridled and/or

 boundless discretion to determine whether and/or when to permit, revoke, or deny

 expressive activity including both commercial and non-commercial speech.

        91.    Indianapolis’ variance and permitting schemes, as set forth in the Marion

 County Ordinances/Sign Standards, leave the decision whether to grant, deny, or revoke

 a permit and/or variance request, and/or the time period in which to do so, to

 Indianapolis’ and/or the BZA’s whim.

        92.    Indianapolis’ variance and permitting schemes, as set forth in the Marion

 County Ordinances/Sign Standards, contain unconstitutional prior restraints on speech.



                                              14
Case 1:22-cv-00261-SEB-MPB Document 1 Filed 02/03/22 Page 15 of 21 PageID #: 15



        93.    As an unconstitutional prior restraint on speech, the Marion County

 Ordinances, as applicable to the Marion County Ordinances/Sign Standards, violate the

 United States Constitution, including, without limitation, the First and Fourteenth

 Amendments.

        94.    As an unconstitutional prior restraint, the Marion County Ordinances

 violate the Indiana Constitution, including, without limitation, Article I, § 9.

        95.    As an unconstitutional prior restraint, Indianapolis’ variance and

 permitting schemes, as set forth in the Marion County Ordinances/Sign Standards are

 arbitrary, capricious, and/or unfounded; and otherwise results in the arbitrary

 deprivation of GEFT’s (and those similarly situated) vested property rights/interests

 without due process of law.

        96.    Indianapolis’s variance and permitting schemes, as set forth in the Marion

 County Ordinances/Sign Standards, do not sufficiently constrain official discretion.

        97.    As an unconstitutional prior restraint, the Marion County Ordinances/Sign

 Standards violate GEFT’s (and those similarly situated) civil rights.

        98.    Indianapolis would not have enacted the Marion County Ordinance without

 the inclusion of the Sign permitting, variance, and revocation process.

        99.    Because Indianapolis would not have enacted the Marion County Ordinance

 and/or the Sign Standards without the inclusion of the Sign permitting, variance, and

 revocation process, a determination of unconstitutionality as to those provisions renders

 Section 744 and the Marion County Ordinance unconstitutional in their entirety.

        100.   GEFT has been damaged by Indianapolis’s abridgement of GEFT’s

 constitutional rights.

        101.   Based on the foregoing, GEFT seeks a declaratory judgment pursuant to 28

 U.S.C. § 2201 declaring the Marion County Ordinances and Sign Standards


                                              15
Case 1:22-cv-00261-SEB-MPB Document 1 Filed 02/03/22 Page 16 of 21 PageID #: 16



 unconstitutional on their face and as applied, and enjoining Indianapolis from enforcing

 any portion of Section 744 and its variance process against GEFT, and compensatory

 damages, pursuant to 42 U.S.C. § 1983, in a sum to be determined at trial.

                             SECOND CAUSE OF ACTION

  THE MARION COUNTY ORDINANCE CONTAINS UNCONSTITUTIONAL CONTENT-BASED
                             REGULATIONS

         102.   GEFT incorporates by reference the foregoing paragraphs, as if restated

 herein in their entirety.

         103.   The First Amendment of the United States Constitution, as applied to the

 States and their political subdivisions through the Fourteenth Amendment of the United

 States Constitution, protects a citizen from being punished by a governmental entity or

 individual acting in his or her official capacity as an agent of that governmental entity,

 because of said citizen’s exercise of free speech. GEFT possesses those rights.

         104.   Article I, § 9 of the Indiana Constitution guarantees Indiana citizens the

 same rights guaranteed by the First Amendment to the United States Constitution. GEFT

 possesses those rights.

         105.   The Marion County Sign Standards have established unconstitutional

 content-based restrictions on speech.

         106.   For example, the Marion County Sign Standards, through the Off-premises

 Ban on off-premises signs within the I-465 loop, improperly favor certain types of speech

 over others based on the topic discussed on a Sign or the idea or message expressed on a

 Sign.

         107.   The Off-premises Ban impermissibly draws content-based distinctions on

 the types of Signs that are prohibited versus those that are allowed, based on the message

 a speaker conveys.



                                             16
Case 1:22-cv-00261-SEB-MPB Document 1 Filed 02/03/22 Page 17 of 21 PageID #: 17



           108.   The Off-premises Ban also requires the City to examine the content of a Sign

 to determine whether a Sign is banned.

           109.   The Off-premises Ban is unconstitutional on its face, and as applied to

 GEFT, because Indianapolis has failed to, and cannot, articulate a compelling and/or

 substantial governmental interest in providing standards applicable to Off-premises

 Signs distinct from the standards applicable to On-premises Signs.

           110.   The Off-premises Ban is unconstitutional on its face, and as applied to

 GEFT, because Indianapolis has failed to, and cannot, narrowly draw restrictions based

 on distinctions between prohibited and allowed Signs in a manner to directly advance any

 purported governmental interest.

           111.   Indianapolis would not have enacted the Marion County Sign Standards

 without the inclusion of the Off-premises Ban.

           112.   Because Indianapolis would not have passed the Marion County Sign

 Standards without the Off-premises Ban, a determination of unconstitutionality as to the

 Off-premises Ban renders the entire Marion County Sign Standards unconstitutional.

           113.   GEFT has been damaged by Indianapolis’ abridgement of its constitutional

 rights.

           114.   Based on the foregoing, GEFT seeks a declaratory judgment pursuant to 28

 U.S.C. § 2201 declaring the Marion County Sign Standards unconstitutional on their face,

 and enjoining Indianapolis from enforcing any portion of the Marion County Sign

 Standards against GEFT or others, and compensatory damages, pursuant to 42 U.S.C. §

 1983, in a sum to be determined at trial.

                                 THIRD CAUSE OF ACTION

                           PETITION FOR REVIEW OF BZA DECISION




                                                17
Case 1:22-cv-00261-SEB-MPB Document 1 Filed 02/03/22 Page 18 of 21 PageID #: 18



        115.   GEFT incorporates by reference the foregoing paragraphs, as if restated

 herein in their entirety.

        116.   The names and address of the petitioner, GEFT, and the BZA and the

 identity of those who participated in the BZA’s decision are all set forth above and

 incorporated herein by reference.

        117.   On January 4, 2022, the BZA denied the Variances for the Properties.

        118.   GEFT has standing to appeal the BZA’s denial because, without limitation:

               a. The zoning decision is specifically directed at GEFT, and GEFT has an

                   interest in the Digital Billboards;

               b. GEFT is aggrieved or adversely affected by the zoning decision;

               c. The Marion County Ordinance does not require an administrative

                   appeal of a BZA decision;

               d. GEFT has sought judicial review timely; and

               e. GEFT will timely transmit the board record, or seek an appropriate

                   extension, as required by Ind. Code § 36-7-4-1613.

        119.   The BZA possesses unbridled discretion in approving or denying variance

 requests, including the Variances, because the Marion County Ordinances lack objective

 criteria of any type to be used by the BZA in making its decision for the approval or denial

 of a variance and because its lacks necessary procedural safeguards.

        120.   The Marion County Ordinances leave the decision whether to grant, deny,

 or revoke a variance, and the time period in which to do so, to the BZA’s whim.

        121.   The Marion County Ordinances contain unconstitutional prior restraints on

 speech.

        122.   The BZA’s denial of the Variances is an impermissible prior restraint on

 speech.


                                               18
Case 1:22-cv-00261-SEB-MPB Document 1 Filed 02/03/22 Page 19 of 21 PageID #: 19



        123.   As an unconstitutional prior restraint, the Ordinance violates the United

 States Constitution, including, without limitation, the First and Fourteenth Amendments.

        124.   The BZA’s decision was:

               a. Arbitrary, capricious, an abuse of discretion, or otherwise not in

                      accordance with the law;

               b. Contrary to GEFT’s First Amendment Rights;

               c. In excess of the BZA’s statutory authority; and/or

               d. Unsupported by substantial evidence.

        125.   The BZA’s decision was arbitrary, capricious, an abuse of discretion, or

 otherwise not in accordance with the law as evidenced by its reliance on unconstitutional

 variance criteria.

        126.   Likewise, the BZA’s decision is unsupported by substantial evidence

 because it cannot point to any objective evidence that demonstrates GEFT’s failure to

 meet the variance criteria.

        127.   Because of the BZA’s improper decision and the other constitutional

 infirmities in the Marion County Ordinances, GEFT is precluded from exercising its First

 Amendment rights.

        128.   Pursuant to Ind. Code § 36-7-4-1003, GEFT requests this Court overturn

 the BZA’s denial of the Variances and instruct the BZA to approve and issue the Variances.

                             DEMAND/PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs GEFT OUTDOOR, L.L.C., by counsel, respectfully

 requests a Judgment for the following relief:

        A.     On the First Cause of Action, for an Order and Judgment pursuant to 28

               U.S.C. § 2201 declaring Chapter 744 of the Marion County Ordinance and

               variance process to be unconstitutional on their faces and as applied and


                                                 19
Case 1:22-cv-00261-SEB-MPB Document 1 Filed 02/03/22 Page 20 of 21 PageID #: 20



             enjoining Indianapolis from enforcing Chapter 744 of the Marion County

             Ordinance and its variance process, now or at any time in the future, against

             GEFT and others, and an award of compensatory damages, pursuant to 42

             U.S.C. § 1983, to be determined at trial;

       B.    On the Second Cause of Action, for an Order and Judgment pursuant to 28

             U.S.C. § 2201 declaring Chapter 744 of the Marion County Ordinance to be

             unconstitutional on its face and as applied and enjoining Indianapolis from

             enforcing Chapter 744 of the Marion County Ordinance, now or at any time

             in the future, against GEFT and others, and an award of compensatory

             damages, pursuant to 42 U.S.C. § 1983, to be determined at trial;

       C.    On the Third Cause of Action, for an order overturning the BZA’s denial of

             the Variance and instructing the BZA to approve and issue the Variances,

             which would allow GEFT to erect the Digital Billboards;

       D.    For an award to GEFT of costs, disbursements, and reasonable attorneys’

             fees and expert fees incurred by GEFT in connection with this action

             pursuant to 42 U.S.C. § 1988; and

       E.    All other relief just and proper in the premises.




                                           20
Case 1:22-cv-00261-SEB-MPB Document 1 Filed 02/03/22 Page 21 of 21 PageID #: 21



        I swear or affirm under the penalties of perjury that the foregoing factual
 allegations concerning GEFT’s request for a variance and request for judicial review are
 true and accurate to the best of my knowledge and belief.



                                                             ______
                                         Jeffrey S. Lee
                                         On behalf of GEFT Outdoor, LLC


                                         Respectfully submitted,

                                         LEWIS WAGNER, LLP



                                         /s/ A. Richard M. Blaiklock
                                         A. RICHARD M. BLAIKLOCK, #20031-49
                                         TAYLOR L. FONTAN, #35690-53
                                         Counsel for GEFT Outdoor, L.L.C.

 LEWIS WAGNER, LLP
 1411 Roosevelt Avenue, Suite 102
 Indianapolis, Indiana 46201
 Phone: 317-237-0500
 Fax:    317-630-2790
 Email: rblaiklock@lewiswagner.com
         tfontan@lewiswagner.com
